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 9                                UNITED STATES DISTRICT COURT

10                          NORTHERN DISTRICT OF CALIFORNIA

11                                   SAN FRANCISCO DIVISION

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13   IN RE: CATHODE RAY TUBE (CRT)              Master File No. 3:07-cv-05944-SC
     ANTITRUST LITIGATION,
14                                              MDL No. 1917
15                                              [PROPOSED] ORDER GRANTING
     This Documents Relates To:                 STIPULATED ADMINISTRATIVE
16                                              MOTION FOR ORDER ISSUING
     ALL ACTIONS                                LETTER OF REQUEST TO
17                                              RESCHEDULE THE DEPOSITION OF
                                                LEO MINK
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           [PROPOSED] ORDER GRANTING ADMINISTRATIVE MOTION TO ISSUE LETTER OF REQUEST TO
                             RESCHEDULE THE DEPOSITION OF LEO MINK – CASE NO. CV 07-5944-SC
             Case 4:07-cv-05944-JST Document 2518-2 Filed 04/02/14 Page 2 of 2



 1          The California Attorney General, joined by the Direct Purchaser Plaintiffs, the Indirect

 2   Purchaser Plaintiffs, and the Direct Action Plaintiffs (hereafter “Plaintiffs”), has moved under Civil

 3   Local Rule 7.11 for an order issuing a second Letter of Request to the relevant authorities in the

 4   Netherlands to reschedule the deposition of Leo Mink, an ex-employee of Philips. This is an

 5   unopposed administrative motion.

 6          The Court, having reviewed the administrative motion, the Letter of Request, Amended

 7   Notice of Deposition and Subpoena, and any other relevant records on file in this action, finds that

 8   the administrative motion of the California Attorney General should be, and hereby is, GRANTED.

 9          NOW, THEREFORE, IT IS HEREBY ORDERED THAT: The Letter of Request, attached

10   to this Order, shall be executed and issued out of this Court under this Court’s seal to the relevant

11   authorities in the Netherlands requesting that the deposition of Leo Mink be taken at the time and

12   place set forth in that Letter of Request and its accompanying Amended Notice of Deposition and

13   Subpoena.

14          IT IS SO ORDERED.
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            Dated: ______________, 2014                            ____________________________
17                                                                 SAMUEL CONTI
                                                                   United States District Judge
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             [PROPOSED] ORDER GRANTING ADMINISTRATIVE MOTION TO ISSUE LETTER OF REQUEST TO
                               RESCHEDULE THE DEPOSITION OF LEO MINK – CASE NO. CV 07-5944-SC
